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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

LARRY KLAYMAN, et al., )
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)
Plaintiffs, )
)
v. ) Civil Action No. 14-92 (RJL)
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NATIONAL SECURITY AGENCY, )
et al., ) F I L E D
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) MAR 2 8 2018
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C| k.U.S.D' t` t&B k t
Defendants‘ ) Co::ts for the|SDir:t:rict ozgc)rllllilr)n‘t:)la
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(March'Z- lz, 2018)

On January 23, 2014, plaintiffs, Larry Klayman, Charles Strange, Mary Ann
Strange, Matt Garrison, and Michael Ferrari, filed the instant action against four federal
agencies-the National Security Agency (“NSA”), the Department of Justice (“DOJ”), the
Federal Bureau of Investigation (“FBI”), and the Central Intelligence Agency (“CIA”)-
as Well seven individuals_former President Barack Obama, former U.S. Attorney General
Eric Holder, former Director of the NSA Keith Alexander, Federal Judge Roger Vinson,
former Director of National Intelligence (“DNI”) J ames Clapper, fortner DNI John
Brennan, and former Director of the FBI James Comey. See Compl. [Dkt. #l] 111 10-25.
Plaintiffs allege that defendants have all violated their First, Fourth, and Fifth Amendment

rights by unconstitutionally surveilling them and collecting their personal records. See id.

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at 1111 1-9. Plaintiffs are also attempting to certify a class of American citizens whose
communications were recorded or listened to by defendants, in violation of their
constitutional rights. See id. at 11 43; Motion to Certify Class [Dkt. #6].

Plaintiffs filed this case as related to two other cases in which named plaintiff Larry
Klayman has sued defendants for alleged unconstitutional government surveillance See
Klayman v. Obama, No. 13-cv-851 (D.D.C. June 6, 2013) (“Klayman 1”); Klayman v.
Obama, No. 13-cv-881 (D.D.C. June 12, 2013) (“Klayman II”). On November 21, 2017,
however, I dismissed Klayman 1 and Klayman 11 for several jurisdictional defects,
including lack of standing, mootness, and lack of jurisdiction based on sovereign immunity.
See Klayman v. Natz`ona[ Securil‘y Agency, Civ. A. Nos. l3-851(RJL), 13-881(RJL), 2017
WL 5635668 (Nov. 21, 2017).

Upon review of the pleadings in this case, it appeared to this Court that plaintiffs’
claims suffer from the same jurisdictional defects as the claims I dismissed in Klayman I
and Klayman [I. Accordingly, on February 21, 2018, l ordered plaintiffs to show cause in
writing, within 30 days, why this case should not be dismissed for the same reasons stated
in my memorandum opinion in Klayman, 2017 WL 5635668. See 2/21/ 18 Order [Dkt.
#53].

On March 20, 2018, plaintiff Klayman responded to that order, “urg[ing] this Court
to not also dismiss this action and to vacate its recent dismissal in Klayman I, Klayman I[,

and Klayman 1 V.”l See Resp. to Order of the Court [Dkt. #54] 3. But nowhere in his

 

' Klayman IV refers to Monz‘gomery v. Comey, Civ. A. No. 17-1074 (RJL), 2018 WL
1158004 (D.D.C. Mar. 5, 2018), which Klayman filed as related to Klayman 1, Klayman

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response did Klayman address the jurisdictional defects this Court raised or otherwise
address why this case should not be dismissed Instead, Klayman accused this Court of
being “coopted by the so called ‘Deep State”’ into ruling against him. Id. at 2.
Unfortunately for plaintiffs, such baseless accusations are no substitute for a well-pleaded
complaint

Accordingly, upon due consideration of the entire record herein, it is hereby

ORDERED that this case is DISMISSED pursuant to Local Rule 83.23.
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RICHARD J.“I;Eo‘l\l
United States District Judge

 

II, and Klayman III. In Mom‘gomery, Klayman and another plaintiff sued defendants for,
inter alia, First and Fourth Amendment violations, conversion, and fraudulent
misrepresentation Ia’. at *1. On March 5, 2018, I denied Klayman’s motion for a
preliminary injunction in that case, granted defendants’ motions to dismiss and motion for
partial summary judgment, and dismissed the case with prejudice. Ia'.

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